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                                                                              ,l-bcrLLt Ewr/ eo*

                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


UNITED STATES OF       AMERICA,                 )
                                                )      INDICTMENT
                    Plaintife                   )
                            )                          2r   U.S.c. $ 8al(a)(l)
v.                          )                          2r   U.S.c. $ 841(bXlXA)
                            )                          2r   u.s.c. $ 846
l. MIGUEL EDUARDO DEL REAL, )                          2r   U.S.C. $ 853
                            )                          28 U.S.C.     5246r
2.    GERALD ALLEN        JENSEN,               )
                                                )
3.    IVAN   LOPEZ,                             )
                                                )
4.    ruAN   JOSE PANIAGUA JR.,       and       )
                                                )
5.    AARON MICHAEL         STENQUIST,          )
                                                )
                    Defendants.                 )

      TTIE IJNITED STATES GRANID JURY CHARGES TFIAT:

                                     COUNT T
                     (Conspiracy To Distribute Methamphetamine)

      Beginning in or about approximately May 2020, and continuing through in or about

September 2020,the exact dates being unknown to the grand jury, in the State and District

of Minnesota and elsewhere, the defendants,

                          MIGUEL EDUARDO DEL REAL,
                            GERALD ALLEN JENSEN,
                                 IVAII LOPEZ,
                          JUAN JOSE PANIAGUA JR., and
                          AARON MICHAEL STENQUIST,

did knowingly and intentionally conspire with each other and'others known and unknown

to the grand jury, to distribute 500 grams or more of a mixture and substance containing a

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                                                                                 (}cT 2 0   2tI20

                                                                             U.S. OISTRICT COUBT MPLS
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detectable amount of methamphetamine, a Schedule                    II controlled   substance, in violation

of 2r U.S.C. $$ 8al(aXl), 841(bXlXA) and 846.

                                           COUNT 2
                  (Possession with the Intent To Distribute Methamphetamine)

        On or about September 18, 2020, in the State and District of Minnesota, the
defendants,
                                 MIGUEL EDUARDO DEL REAL,
                                      MN LOPFZ,and
                                  JUAN JOSE PANIAGUA JR.,

aided and abetted by each other and others, did knowingly and intentionally possess with

intent to distribute 500 grams or more of a mixture and substance containing a detectable

amount of methamphetamine, a Schedule                II controlled substance, in violation of 2l U.S.C.

$$   8al(aXl) and 841(bXlXA), and             18   U.S.c. $ 2.

                                    FORFEITURE ALLEGATIONS

        Counts     I and 2 of this Indictment are incorporated           by reference for the purpose of

alleging forfeitures pursuant to        2l U.S.C.     $ 853.

        If convicted of Count I or 2 of this Indictment, the defendants,

                                 MIGUEL EDUARDO DEL REAL,
                                   GERALD ALLEN JENSEN,
                                          IVAI\ LOPEZ,,
                                 JUAI\I JOSE PANIAGUA JR., and
                                 AARON MICHAEL STENQUIST,

shall forfeit to the United States, pursuant to             2l   U.S.C. $ 853(a)(l) and (2), any and all

property constituting, or derived from, any proceeds obtained directly or indirectly as a

                                                        2
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result of each such violation, and any and all property usedo or intended to be used, in any

manner or part to commit or to facilitate the commission of said violations, including but

not limited to:

        a.    a silver Smith   &   Wesson 9mm semi-automatic handgun with black grips, serial

             number TCY2775:

        b.    $11,800 U.S. currency seized by law enforcement on September 16,2020;

        c. $6,755 U.S. currency seized by law enforcement on September         18, 2020; and

        d.    $1,900 U.S. currency seized by law enforcement on September 22,2020.

        If   any of the above-described forfeitable property is unavailable for forfeiture, the

United States intends to seek the forfeiture of substitute property as provided for in 2l

U.S.c. $ 853(p).



                                                  A TRUE BILL




UNITED STATES ATTORNEY                                    FOREPERSON
